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                       Exhibit 1
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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 MATTHEW KOTILA, individually and on              Case No. 1:22-cv-00704
 behalf of all others similarly situated,
                                                  Hon. Hala Y. Jarbou
        Plaintiff,
 v.

 CHARTER FINANCIAL PUBLISHING                     CLASS ACTION
 NETWORK, INC.,

         Defendant.

  ORDER APPROVING PLAINTIFF’S PROPOSED CLASS NOTICE PLAN
           AND FOR ENTRY OF DEFAULT JUDGMENT

       Defendant Charter Financial Publishing Network, Inc. (“Defendant”) has

 failed to plead or otherwise defend this action, and a Clerk’s Entry of Default has

 been issued on October 19, 2022. ECF No. 12. Plaintiff Matthew Kotila (“Plaintiff”)

 has requested approval of Plaintiff’s class notice plan and the entry of default

 judgment under Fed. R. Civ. P. 55(b)(2) against Defendant, and Plaintiff has filed a

 motion, supporting memorandum, and declaration (“Motion”).

       The Court, having considered Plaintiff’s Complaint, Motion, and good cause

 being shown, IT IS HEREBY ORDERED as follows:

       1.     Plaintiff’s class action notice plan is approved;

       2.     Plaintiff’s request for entry of default judgment is approved;

       3.     Plaintiff’s allegations being deemed admitted, the amount of the default



                                         1
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 judgment shall be in the amount of $5,000.00 per Class member, the statutory

 penalty provided by the Preservation of Personal Privacy Act, PPPA § 5(a),

 multiplied by the number of Class members who do not choose to opt out of the

 Class, as to be determined following the notice period.

       4.    The final award of damages shall be determined following the notice

 period;



 Dated this ___ day of ________, 2023        _______________________________
                                                    U.S. District Court Judge




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